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                                                                         6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         9   UNITED STATES OF AMERICA,                              No. CR 06-00144-1 JSW
                                                      10                                   Plaintiff,                               ORDER DISCHARGING ORDER
                                                                                                                                    TO SHOW CAUSE
                                                      11                       v.
United States District Court




                                                      12                     RENATO MENDOZA MEDINA,
                                                      13                                   Defendant.
                               For the Northern District of California




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                                                      14
                                                      15                            The Court has received Defendant Renato Mendoza Medina’s response to the Order to
                                                      16                     Show Cause as to why documents produced pursuant to a subpoena should not be disclosed to
                                                      17                     the Government. Having considered Defendant’s response, the Court finds that the documents
                                                      18                     need not be produced at this time, but Defendant shall be required to comply with Federal Rule
                                                      19                     of Criminal Procedure 16's requirements regarding disclosure of documents.
                                                      20                            IT IS SO ORDERED.
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                                                      22                     Dated: July 6, 2006
                                                                                                                                    JEFFREY S. WHITE
                                                      23                                                                            UNITED STATES DISTRICT JUDGE
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